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                                    MINUTES



 CASE NUMBER:           CR NO. 17-00101LEK
 CASE NAME:             USA vs. (01) ANTHONY T. WILLIAMS
 ATTYS FOR PLA:
 ATTYS FOR DEFT:
 INTERPRETER:


      JUDGE:      Leslie E. Kobayashi          REPORTER:

      DATE:       5/13/2019                    TIME:


COURT ACTION: EO: COURT ORDER REGARDING BRIEFING DEADLINES
FOR DEFENDANT’S SECOND MOTION TO COMPEL AND NINTH MOTION FOR
ORDER TO SHOW CAUSE

        On April 10, 2019, pro se Defendant Anthony T. Williams (“Defendant”) filed his
Second Motion to Compel (“Motion to Compel”) and Ninth Motion for Order to Show
Cause (“Ninth OSC Motion”). [Dkt. nos. 459, 460.] Plaintiff the United States of
America’s (“Government”) memoranda in opposition to the motions were due on May 10,
2019. [EO: Court Order Granting the Government’s Motion to Continue Deadline to
Respond to Def.’s Second Motion to Compel and Ninth Motion for Order to Show Cause,
filed 5/1/19 (dkt. no. 469).]

       On May 10, 2019, during a hearing on another matter in this case, this Court
granted the Government’s oral request for an extension of its deadline to respond to the
Motion to Compel and the Ninth OSC Motion. The Government’s memoranda in
opposition are now due by May 17, 2019. [Minutes (dkt. no. 477).] In light of the
Government’s extension and the representations that Defendant made during the May 10,
2019 hearing, Defendant’s optional reply memorandum in support of the Motion to
Compel and his optional reply memorandum in support of the Ninth OSC Motion are now
due by June 7, 2019.

      IT IS SO ORDERED.

Submitted by: Warren N. Nakamura, Courtroom Manager
